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8                                    UNITED STATES DISTRICT COURT

9                               EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                     No. 2:13-cr-00302-MCE
12                      Plaintiff,
13             v.                                   FINAL PRETRIAL ORDER
14    JAMES SHERMAN,                                TRIAL DATE: September 16, 2019
                                                    TIME: 9:00 a.m.
15                      Defendant.
16

17            A Trial Confirmation Hearing was held on August 1, 2019. Jason Hitt appeared

18   as counsel for the United States. Christopher Cosca appeared as counsel for the

19   Defendant. After hearing, the Court makes the following findings and orders:

20   I.       DATE AND LENGTH OF TRIAL

21            A trial is scheduled for September 16, 2019 at 9:00 a.m. in courtroom 7. The

22   estimated length of trial is four (4) days. The Court will permit each side up to one (1)

23   hour for closing arguments unless otherwise specifically ordered by the Court. The

24   United States will be permitted to reserve time for rebuttal purposes but will be required

25   to monitor any time so reserved.

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1    II.    MOTIONS IN LIMINE

2           Any motions in limine shall be filed in one document by August 26, 2019.

3    Any opposition(s) to those motions in limine shall be filed in one document by

4    September 3, 2019. Any reply(ies) shall be filed in one document by September 9,

5    2019. Hearing on motions in limine is scheduled for September 12, 2019 at 10:00 a.m.

6    in courtroom 7.

7    III.   AGREED STATEMENTS - JOINT STATEMENT OF CASE

8           It is mandatory the parties file a short, jointly-prepared statement concerning the

9    nature of this case that will be read to the jury at the commencement of trial. The joint

10   statement of the case shall include in plain concise language the claims of the United

11   States of America and claims of other parties, if any. The purpose of the joint statement

12   of the case is to inform the jury at the outset what the case is about. The statement must

13   be filed by September 3, 2019.

14   IV.    TRIAL BRIEFS

15          The parties shall file trial briefs not later than September 3, 2019.

16   V.     WITNESSES

17          The parties are ordered to file their witness lists on or before September 3, 2019.

18   Each party may call a witness designated by the other. The parties must expressly

19   reserve the right to call additional witnesses at trial.

20   VI.    EXHIBITS - SCHEDULES AND SUMMARIES

21          The parties are ordered to file their exhibit lists on or before September 3, 2019.

22   The parties must expressly reserve the right to offer additional exhibits at trial.

23          The United States’ exhibits shall be listed numerically. Defendant’s exhibits shall

24   be listed alphabetically. After A-Z is exhausted, defense counsel is to use A2 through

25   Z2, then begin with A3 through Z3, and so on. Each page in all multi-page exhibits shall

26   be marked for identification and all photographs must be marked individually.

27   ///

28   ///
                                                     2
       Case 2:13-cr-00302-MCE Document 151 Filed 08/01/19 Page 3 of 28


1    A footer must be used to mark exhibits and must be in the following format: Case

2    Number, Case Name, Party Offering Exhibit, Exhibit Number or Letter, Page of Exhibit

3    with length of exhibit. 1

4             Each party may use an exhibit designated by the other. In the event the United

5    States and the Defendant offer the same exhibit during trial, that exhibit shall be referred

6    to by the designation the exhibit is first identified. The Court cautions the parties to pay

7    attention to this detail so that all concerned, including the jury, will not be confused by

8    one exhibit being identified by both the United States and the Defendant.

9             Exhibit lists must be in Microsoft Word, filed in the table format shown below, and

10   emailed to mceorders@caed.uscourts.gov by September 3, 2019.

11
              EXHIBIT                     EXHIBIT DESCRIPTION              DATE          DATE
12         IDENTIFICATION                                                 OFFERED      ADMITTED

13

14

15

16            The parties are ordered to provide an electronic version of exhibits and their
17   exhibit lists to the Courtroom Deputy on a jump drive (also known as, among other
18   things, a flash drive, USB drive, etc.) by September 3, 2019. Unless otherwise ordered
19   by the Court, the parties shall retain custody of any physical exhibits incapable of being
20   submitted electronically and shall remain responsible for the custody of those exhibits
21   throughout the duration of the trial.
22            The Court shall be presented with one copy of the exhibit(s) in a 3-ring binder(s)
23   with a side tab identifying each exhibit by number or letter by September 3, 2019. Each
24   binder shall be no larger than three inches in width and have an identification label on
25   the front and side panel.
26   ///
27   1 Example of exhibit stamp footer.

28   2:13-cr-00302, US v. Sherman            Government’s Exhibit 1                    Page 1 of 3
                                                       3
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1    VII.    PROPOSED VOIR DIRE, JURY INSTRUCTIONS, VERDICT FORM

2            A.     Voir Dire

3            The parties are ordered to file their proposed voir dire on or before

4    September 3, 2019. The Court reserves the right to conduct all examination of

5    prospective jurors. Notwithstanding this reservation, the Court will permit each side up

6    to ten (10) minutes to conduct further voir dire, if desired.

7            B.     Jury Instructions

8            The parties shall primarily use the Ninth Circuit Model Jury Instructions and any

9    revisions. However, instructions or authority may be submitted to the Court for approval.

10   Attached for review are the Court’s standard opening and closing instructions for your

11   use, taken from the Ninth Circuit’s Model Jury Instructions. If counsel has no objections

12   to the Court’s use of these opening and closing instructions, counsel need not submit

13   their own opening and closing instructions.

14           The proposed instructions must be filed by September 3, 2019 and shall be

15   identified as "Jury Instructions Without Objection" and/or “Jury Instructions With

16   Objection,” respectively.

17           All proposed instructions shall be, to the extent possible, concise, understandable,

18   and free from argument. See Local Rule 163(c). Parties shall also note that any

19   modifications of instructions from statutory authority, case law or from any form of

20   pattern instructions must specifically state the modification by underlining additions and

21   bracketing deletions.

22           C.      Verdict Form

23   The parties are ordered to file their proposed verdict forms on or before September 3,

24   2019.

25           D.     Submission of Documents to the Court

26           At the time of filing their proposed witness list(s), jury instruction(s), and verdict

27   form(s), counsel shall also electronically mail these filings to the Court, in Microsoft Word

28   format. These documents MUST be sent to: mceorders@caed.uscourts.gov.
                                                      4
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1    VIII.   CHOICE NOT TO FILE DOCUMENTS

2            Should either party choose not to file a trial brief, witness list, exhibit list, proposed

3    voir dire, proposed jury instructions, or proposed verdict forms, that party must notify the

4    Court in writing by September 3, 2019 that it will not be filing such documents.

5    IX.     AUDIO/VISUAL EQUIPMENT

6            The parties are required to file electronically a joint request to the Courtroom

7    Deputy by September 3, 2019 if they wish to reserve and arrange for orientation with all

8    parties on the Court's mobile audio/visual equipment for presentation of evidence. There

9    will be one date and time for such orientation.

10   X.      PERSONS WITH COMMUNICATION DISABILITIES

11           To the extent the services of a foreign language interpreter, sign language

12   interpreter or other appropriate auxiliary aids and services are required during the course

13   of this trial, counsel is to notify the Court, in writing, not later than September 3, 2019, in

14   addition to contacting the Access Coordinator/Staff Interpreter, Yolanda Riley-Portal, at

15   (916) 930-4221 or yriley-portal@caed.uscourts.gov. The foreign language interpreter

16   must be a court certified interpreter in good standing and have an oath on file with this

17   Court prior to the commencement of trial.

18   XI.     OBJECTIONS TO FINAL PRETRIAL ORDER

19           The parties may file an objection or request augmentation of this Final Pretrial

20   Order not later than August 8, 2019. The Final Pretrial Order will be modified only upon

21   a showing of manifest injustice. If no objection or modifications are made, this Order will

22   become final without further order of the Court and shall control the subsequent course

23   of the action.

24   DATED: August 1, 2019

25
                                                  _______________________________________
26                                                MORRISON C. ENGLAND, JR.
                                                  UNITED STATES DISTRICT JUDGE
27

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                                                      5
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          3.1 DUTIES OF JURY TO FIND FACTS AND FOLLOW LAW

        Members of the jury, now that you have heard all the evidence, it is my

duty to instruct you on the law that applies to this case. A copy of these

instructions will be available in the jury room for you to consult.

        It is your duty to weigh and to evaluate all the evidence received in the

case and, in that process, to decide the facts. It is also your duty to apply the law

as I give it to you to the facts as you find them, whether you agree with the law or

not. You must decide the case solely on the evidence and the law and must not
be influenced by any personal likes or dislikes, opinions, prejudices, or sympathy.

You will recall that you took an oath promising to do so at the beginning of the

case.

        You must follow all these instructions and not single out some and ignore

others; they are all important. Please do not read into these instructions or into

anything I may have said or done any suggestion as to what verdict you should

return—that is a matter entirely up to you.
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 3.2 CHARGE AGAINST DEFENDANT NOT EVIDENCE—PRESUMPTION OF

                     INNOCENCE—BURDEN OF PROOF

      The indictment is not evidence. The defendant has pleaded not guilty to

the charge[s]. The defendant is presumed to be innocent unless and until the

government proves the defendant guilty beyond a reasonable doubt. In addition,

the defendant does not have to testify or present any evidence to prove

innocence. The government has the burden of proving every element of the

charge[s] beyond a reasonable doubt.
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                    3.3 DEFENDANT'S DECISION NOT TO TESTIFY

           A defendant in a criminal case has a constitutional right not to testify. You

may not draw any inference of any kind from the fact that the defendant did not

testify.
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                  3.4 DEFENDANT'S DECISION TO TESTIFY

      The defendant has testified. You should treat this testimony just as you

would the testimony of any other witness.
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                        3.5 REASONABLE DOUBT—DEFINED

          Proof beyond a reasonable doubt is proof that leaves you firmly convinced

the defendant is guilty. It is not required that the government prove guilt beyond

all possible doubt.

          A reasonable doubt is a doubt based upon reason and common sense

and is not based purely on speculation. It may arise from a careful and impartial

consideration of all the evidence, or from lack of evidence.

          If after a careful and impartial consideration of all the evidence, you are
not convinced beyond a reasonable doubt that the defendant is guilty, it is your

duty to find the defendant not guilty. On the other hand, if after a careful and

impartial consideration of all the evidence, you are convinced beyond a

reasonable doubt that the defendant is guilty, it is your duty to find the defendant

guilty.
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                             3.6 WHAT IS EVIDENCE

        The evidence you are to consider in deciding what the facts are consists

of:

        1.    the sworn testimony of any witness;

        2.    the exhibits received in evidence; and

        3.    any facts to which the parties have agreed.
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                          3.7 WHAT IS NOT EVIDENCE

       In reaching your verdict you may consider only the testimony and exhibits

received in evidence. The following things are not evidence and you may not

consider them in deciding what the facts are:

       1.      Questions, statements, objections, and arguments by the lawyers

are not evidence. The lawyers are not witnesses. Although you must consider a

lawyer’s questions to understand the answers of a witness, the lawyer’s

questions are not evidence. Similarly, what the lawyers have said in their opening
statements, have said in their closing arguments and at other times is intended to

help you interpret the evidence, but it is not evidence. If the facts as you

remember them differ from the way the lawyers state them, your memory of them

controls.

       2.      Any testimony that I have excluded, stricken, or instructed you to

disregard is not evidence. [In addition, some evidence was received only for a

limited purpose; when I have instructed you to consider certain evidence in a

limited way, you must do so.]

       3.      Anything you may have seen or heard when the court was not in

session is not evidence. You are to decide the case solely on the evidence

received at the trial.
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                3.8 DIRECT AND CIRCUMSTANTIAL EVIDENCE

       Evidence may be direct or circumstantial. Direct evidence is direct proof of

a fact, such as testimony by a witness about what that witness personally saw or

heard or did. Circumstantial evidence is indirect evidence, that is, it is proof of

one or more facts from which you can find another fact.

       You are to consider both direct and circumstantial evidence. Either can be

used to prove any fact. The law makes no distinction between the weight to be

given to either direct or circumstantial evidence. It is for you to decide how much
weight to give to any evidence.
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                         3.9 CREDIBILITY OF WITNESSES

       In deciding the facts in this case, you may have to decide which testimony

to believe and which testimony not to believe. You may believe everything a

witness says, or part of it, or none of it.

       In considering the testimony of any witness, you may take into account:

       1.      the witness’s opportunity and ability to see or hear or know the

things testified to;

       2.      the witness’s memory;
       3.      the witness’s manner while testifying;

       4.      the witness’s interest in the outcome of the case, if any;

       5.      the witness’s bias or prejudice, if any;

       6.      whether other evidence contradicted the witness’s testimony;

       7.      the reasonableness of the witness’s testimony in light of all the

evidence; and

       8.      any other factors that bear on believability.

       The weight of the evidence as to a fact does not necessarily depend on

the number of witnesses who testify. What is important is how believable the

witnesses were, and how much weight you think their testimony deserves.
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     3.10 EVIDENCE OF OTHER ACTS OF DEFENDANT OR ACTS AND

                           STATEMENTS OF OTHERS

       You are here only to determine whether the defendant is guilty or not

guilty of the charge[s] in the indictment. The defendant is not on trial for any

conduct or offense not charged in the indictment.
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                      4.1 STATEMENTS BY DEFENDANT

      You have heard testimony that the defendant made a statement. It is for

you to decide (1) whether the defendant made the statement, and (2) if so, how

much weight to give to it. In making those decisions, you should consider all the

evidence about the statement, including the circumstances under which the

defendant may have made it.
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          4.6 IMPEACHMENT, PRIOR CONVICTION OF DEFENDANT

       You have heard evidence that the defendant has previously been

convicted of a crime. You may consider that evidence only as it may affect the

defendant’s believability as a witness. You may not consider a prior conviction as

evidence of guilt of the crime for which the defendant is now on trial.
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                 4.14 OPINION EVIDENCE, EXPERT WITNESS

       You have heard testimony from persons who, because of education or

experience, were permitted to state opinions and the reasons for their opinions.

       Such opinion testimony should be judged like any other testimony. You

may accept it or reject it, and give it as much weight as you think it deserves,

considering the witness’s education and experience, the reasons given for the

opinion, and all the other evidence in the case.
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               4.15 SUMMARIES NOT RECEIVED IN EVIDENCE

       During the trial, certain charts and summaries were shown to you in order

to help explain the evidence in the case. These charts and summaries were not

admitted in evidence and will not go into the jury room with you. They are not

themselves evidence or proof of any facts. If they do not correctly reflect the facts

or figures shown by the evidence in the case, you should disregard these charts

and summaries and determine the facts from the underlying evidence.
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               4.16 CHARTS AND SUMMARIES IN EVIDENCE

      Certain charts and summaries have been admitted in evidence. Charts

and summaries are only as good as the underlying supporting material. You

should, therefore, give them only such weight as you think the underlying

material deserves.
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                          5.6 KNOWINGLY — DEFINED

       An act is done knowingly if the defendant is aware of the act and does not

[act] [fail to act] through ignorance, mistake, or accident. [The government is not

required to prove that the defendant knew that [his] [her] acts or omissions were

unlawful.] You may consider evidence of the defendant’s words, acts, or

omissions, along with all the other evidence, in deciding whether the defendant

acted knowingly.
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                         5.7 DELIBERATE IGNORANCE

       You may find that the defendant acted knowingly if you find beyond a

reasonable doubt that the defendant:

       1.     was aware of a high probability that [e.g., drugs were in the

defendant’s automobile], and

       2.     deliberately avoided learning the truth.

       You may not find such knowledge, however, if you find that the defendant

actually believed that [e.g. no drugs were in the defendant’s automobile], or if you
find that the defendant was simply careless.
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                             7.1 DUTY TO DELIBERATE

         When you begin your deliberations, elect one member of the jury as your

foreperson who will preside over the deliberations and speak for you here in

court.

         You will then discuss the case with your fellow jurors to reach agreement if

you can do so. Your verdict, whether guilty or not guilty, must be unanimous.

         Each of you must decide the case for yourself, but you should do so only

after you have considered all the evidence, discussed it fully with the other jurors,
and listened to the views of your fellow jurors.

         Do not be afraid to change your opinion if the discussion persuades you

that you should. But do not come to a decision simply because other jurors think

it is right.

         It is important that you attempt to reach a unanimous verdict but, of

course, only if each of you can do so after having made your own conscientious

decision. Do not change an honest belief about the weight and effect of the

evidence simply to reach a verdict.
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                      7.2 CONSIDERATION OF EVIDENCE

       Because you must base your verdict only on the evidence received in the

case and on these instructions, I remind you that you must not be exposed to any

other information about the case or to the issues it involves. Except for

discussing the case with your fellow jurors during your deliberations:

       Do not communicate with anyone in any way and do not let anyone else

communicate with you in any way about the merits of the case or anything to do

with it. This includes discussing the case in person, in writing, by phone or
electronic means, via email, text messaging, or any Internet chat room, blog,

website or other feature. This applies to communicating with your family

members, your employer, the media or press, and the people involved in the trial.

If you are asked or approached in any way about your jury service or anything

about this case, you must respond that you have been ordered not to discuss the

matter and to report the contact to the court.

       Do not read, watch, or listen to any news or media accounts or

commentary about the case or anything to do with it; do not do any research,

such as consulting dictionaries, searching the Internet or using other reference

materials; and do not make any investigation or in any other way try to learn

about the case on your own.

       The law requires these restrictions to ensure the parties have a fair trial
based on the same evidence that each party has had an opportunity to address.

A juror who violates these restrictions jeopardizes the fairness of these

proceedings, and a mistrial could result that would require the entire trial process

to start over. If any juror is exposed to any outside information, please notify the

court immediately.
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                              7.3 USE OF NOTES

       Some of you have taken notes during the trial. Whether or not you took

notes, you should rely on your own memory of what was said. Notes are only to

assist your memory. You should not be overly influenced by your notes or those

of your fellow jurors.
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               7.4 JURY CONSIDERATION OF PUNISHMENT

      The punishment provided by law for this crime is for the court to decide.

You may not consider punishment in deciding whether the government has

proved its case against the defendant beyond a reasonable doubt.
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                               7.5 VERDICT FORM

      A verdict form has been prepared for you. After you have reached

unanimous agreement on a verdict, your foreperson should complete the verdict

form according to your deliberations, sign and date it, and advise the Court

Security Officer that you are ready to return to the courtroom.
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                      7.6 COMMUNICATION WITH COURT

       If it becomes necessary during your deliberations to communicate with

me, you may send a note through the Court Security Officer, signed by any one

or more of you. No member of the jury should ever attempt to communicate with

me except by a signed writing, and I will respond to the jury concerning the case

only in writing or here in open court. If you send out a question, I will consult with

the lawyers before answering it, which may take some time. You may continue

your deliberations while waiting for the answer to any question. Remember that
you are not to tell anyone—including me—how the jury stands, numerically or

otherwise, on any question submitted to you, including the question of the guilt of

the defendant, until after you have reached a unanimous verdict or have been

discharged.
